            Case
             Case22-00186
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                                         Summons
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                                                                         U.S. Bankruptcy Court
                                                                         Northern District of Illinois

              In re:
              Bankruptcy Case No. 22-09460
             BASTIEN DIAS DA COSTA
                                                                                                              Debtor
             Adversary Proceeding No. 22-00186
             CELETTE, INC.
                                                                                                              Plaintiff
             V.
             BASTIEN DIAS DA COSTA
                                                                                                              Defendant
                                                            SUMMONS IN AN ADVERSARY PROCEEDING

             To: BASTIEN DIAS DA COST A
             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.

             Address of Clerk
                       Clerk, U.S. Bankruptcy Court
                       Northern District of lllinois
                       219 S Dearborn
                       Chicago, IL 60604
            At the same time, you must also serve a copy of the motion or answer upon the plaintiffs attorney.


             Name and Address of Plaintiff's Attorney/Pro Se Plaintiff
                       William S Hackney, III
                       150 N Michigan Ave
                       Ste 3300
                       Chicago, IL 60601-7621
            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.


            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                       Courtroom 682,219 S. Dearborn St Chicago, IL 60604 or Using Zoom
                       By video, use link: https://www.zoomgov.com/                                                    Status Hearing Date and Time
                       By telephone, call 1-669-254-5252 or 1-646-828-7666.                                            01/05/2023 at 09:30AM
                       Enter meeting ID 160 9362 I 728. No passcode required.
            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
            DEMANDED IN THE COMPLAINT.




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                                                                                            Jettrey P. Allsteadt,                Clerk Of Court


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                                 CERTIFICATE OF SERVICE

        I, William S. Hackney, an attorney, do herby certify that I caused true and correct copies
of the attached Summons and a copy of the Adversary Complaint to be served upon those listed
below via this Court's CM/ECF system or regular mail on this the 21 day of November, 2022.


       Bastien Dias da Costa
       1233 North Bosworth Ave.
       Apt. 2
       Chicago, Illinois 60642
       via regular mail

       David P. Leibowitz
       dleibowitz@lodpl.com
       via CMIECF



                                              William S. Hackney
